      Case 2:22-cv-01242-SMM Document 2 Filed 07/25/22 Page 1 of 10



1    Gary Bendinger (036251)
     Alejandro Barrientos (034129)
2    Katie Derrig (037110)
     LEWIS ROCA ROTHGERBER CHRISTIE LLP
3    201 East Washington Street, Suite 1200
     Phoenix, AZ 85004
4    Tel: (602) 262-5311
     Fax: (602) 262-5747
5    gbendinger@lewisroca.com
     abarrientos@lewisroca.com
6    kderrig@lewisroca.com
7    Justin W. Bernick*
     Danielle Desaulniers Stempel*
8    Michael J. West*
     HOGAN LOVELLS US LLP
9    Columbia Square
     555 Thirteenth Street, NW
10   Washington, DC 20004
     Tel: (202) 637-5600
11   Fax: (202) 637-5910
     justin.bernick@hoganlovells.com
12   danielle.stempel@hoganlovells.com
     michael.west@hoganlovells.com
13
     (Additional Counsel for Plaintiffs Listed on the Following Page)
14
     (*Pro hac vice application forthcoming)
15
16                      IN THE UNITED STATES DISTRICT COURT

17                            FOR THE DISTRICT OF ARIZONA

18     M.S.E., on her own behalf and on          Case No.:
         behalf of her minor child, J.M.;
19     M.V.A., on her own behalf and on
         behalf of her minor child, B.E.;        MOTION TO PROCEED
20     B.C.O., on his own behalf and on          UNDER PSEUDONYMS AND
         behalf of his minor child, M.A.; and    FOR A PROTECTIVE
21     U.O.L., on his own behalf and on          ORDER
         behalf of his minor child, F.R.
22
                    Plaintiffs,
23
       v.
24
       United States of America,
25
                    Defendant.
26
27
28
      Case 2:22-cv-01242-SMM Document 2 Filed 07/25/22 Page 2 of 10



1    Dana A. Raphael*
     Melissa Giangrande*
2    HOGAN LOVELLS US LLP
     Columbia Square
3    555 Thirteenth Street, NW
     Washington, DC 20004
4    Tel: (202) 637-5600
     Fax: (202) 637-5910
5    dana.raphael@hoganlovells.com
     melissa.giangrande@hoganlovells.com
6
     Cory Szczepanik*
7    HOGAN LOVELLS US LLP
     1601 Wewatta Street, Suite 900
8    Denver, CO 80202
     Tel: (303) 899-7300
9    Fax: (303) 899-7333
     cory.szczepanik@hoganlovells.com
10
     Mohan Warusha Hennadige*
11   HOGAN LOVELLS US LLP
     390 Madison Avenue
12   New York, NY 10017
     Tel: (212) 918-3000
13   Fax: (212) 918-3100
     mohan.warusha-hennadige@hoganlovells.com
14
     Tamara F. Goodlette*
15   Vanessa Rivas-Bernardy*
     REFUGEE AND IMMIGRANT CENTER
16   FOR EDUCATION AND LEGAL SERVICES (RAICES)
     1305 N. Flores Street
17   San Antonio, TX 78212
     Tel: 210-538-7382
18   tami.goodlette@raicestexas.org
     vanessa.rivas@raicestexas.org
19
     (*Pro hac vice application forthcoming)
20
21
22
23
24
25
26
27
28
         Case 2:22-cv-01242-SMM Document 2 Filed 07/25/22 Page 3 of 10



1            M.S.E., M.V.A., B.C.O., and U.O.L. (“Plaintiffs”) 1 request this Court’s leave to
2    proceed under pseudonyms to protect their identity from public disclosure. Plaintiffs also
3    move the Court to order the United States (“Defendant”)—which already knows
4    Plaintiffs’ full names 2—to maintain the confidentiality of Plaintiffs’ identities by using
5    only pseudonyms in all of its filings, including all exhibits in which Plaintiffs’ names
6    appear. Plaintiffs will disclose their identities to the Court. Because Plaintiffs are filing
7    this motion concurrently with their Complaint, they have not had the opportunity to obtain
8    Defendant’s position on this motion.
9                                        INTRODUCTION
10           Plaintiffs are parents of minor children who, upon fleeing violence and persecution
11   to seek asylum in the United States, were forcibly separated by Defendant pursuant to a
12   Family Separation Policy intended to cause harm, instill fear, and deter other families
13   from seeking asylum in the United States. The Complaint, filed contemporaneously with
14   this Motion, describes the experiences Plaintiffs suffered at the hands of the United States.
15   The government forcibly removed Plaintiffs’ children from their care, subjected Plaintiffs
16   and their children to inhumane detention conditions, deprived Plaintiffs and their children
17   of any basic information about one another’s whereabouts and well-being for weeks and
18   months, and failed to adequately track Plaintiffs and their children, thereby prolonging
19   the separation and anguish Plaintiffs and their children endured. As a direct result of
20   Defendant’s actions, Plaintiffs and their children suffered—and continue to suffer—
21   severe physical, psychological, and emotional distress and, through this action, seek
22   compensation for the extraordinary harms they endured.
23           Allowing Plaintiffs to proceed under pseudonyms here is necessary to protect their
24   highly sensitive and personal information, including information relating to Plaintiffs’
25   1
       Plaintiffs M.S.E., M.V.A., B.C.O., and U.O.L. bring this action on their own behalf and
26   on behalf of their minor children. Because Federal Rule of Civil Procedure 5.2(a) already
     requires redaction of the names of minor children, this Motion seeks protection only for
27   the adult plaintiffs.
     2
       Plaintiffs disclosed their full names to the relevant government agencies in their
28   administrative claims filed pursuant to 28 U.S.C. § 2401(b).

                                                   1
          Case 2:22-cv-01242-SMM Document 2 Filed 07/25/22 Page 4 of 10



1    immigration status and mental health. Because Defendant already knows Plaintiffs’
2    identities, granting this motion causes no prejudice to Defendant. Moreover, Plaintiffs’
3    need for privacy outweighs the public’s interest in knowing their identities, so the public
4    interest in this case weighs heavily in favor of granting Plaintiffs’ motion.
5                                          ARGUMENT
6    I.       COURTS ROUTINELY ALLOW PLAINTIFFS TO PROCEED UNDER
              PSEUDONYMS WHERE CIRCUMSTANCES, LIKE THOSE HERE,
7             JUSTIFY SECRECY.
8             Although Rule 10(a) of the Federal Rules of Civil Procedure generally requires
9    complaints to include the names of all parties, courts regularly permit parties to proceed
10   under pseudonyms “when special circumstances justify secrecy.” Does I thru XXIII v.
11   Advanced Textile Corp., 214 F.3d 1058, 1067 (9th Cir. 2000) (“Advanced Textile”)
12   (collecting cases). In considering whether to allow a plaintiff to proceed anonymously,
13   courts “balance the need for anonymity against the general presumption that parties’
14   identities are public information and the risk of unfairness to the opposing party.” Id. at
15   1068. Pseudonyms are appropriate in cases where “anonymity is necessary to preserve
16   privacy in a matter of sensitive and highly personal nature.” Id. (quoting James v.
17   Jacobson, 6 F.3d 233, 238 (4th Cir. 1993)). Courts also consider “whether the public’s
18   interest in the case would be best served by requiring that the litigants reveal their
19   identities.” Id.
20            Recognizing that immigration status is sufficiently sensitive and personal in
21   nature, courts across the country have allowed plaintiffs in cases related to immigration
22   to proceed pseudonymously. See, e.g., Hispanic Int. Coal. of Ala. v. Governor of Ala.,
23   691 F.3d 1236, 1247 n.8 (11th Cir. 2012) (collecting cases); Lozano v. City of Hazleton,
24   620 F.3d 170, 195 (3d Cir. 2010) (affirming district court’s order permitting use of
25   pseudonyms where plaintiffs, “because of their unlawful status, would face an
26   ‘exponentially greater’ risk of harassment, and even physical danger, if their identities
27   were revealed” (citation omitted)); cf. Int’l Refugee Assistance Project v. Trump, No. 17-
28

                                                   2
      Case 2:22-cv-01242-SMM Document 2 Filed 07/25/22 Page 5 of 10



1    0361, 2017 WL 818255, at *2 (D. Md. Mar. 1, 2017) (granting motion to proceed under
2    pseudonyms in part to protect plaintiffs’ relatives’ “problematic immigration status”).
3           Courts also allow plaintiffs to use pseudonyms where, as here, plaintiffs’ mental
4    health conditions are a principal issue in the case. See, e.g., Doe v. Colautti, 592 F.2d
5    704, 705 (3d Cir. 1979); Doe v. Sessions, No. 18-0004, 2018 WL 4637014, at *4-5
6    (D.D.C. Sept. 27, 2018) (allowing use of pseudonym to protect the plaintiff from
7    disclosing his mental health conditions and Asperger’s diagnosis and to prevent further
8    trauma to the plaintiff); Doe v. Hartford Life & Accident Ins. Co., 237 F.R.D. 545, 550
9    (D.N.J. 2006) (permitting pseudonymous filing where the plaintiff’s mental health was
10   “directly tied to the subject matter of the litigation”). The constitutional privacy interest
11   in protecting sensitive personal matters such as medical information is well-established.
12   Norman-Bloodsaw v. Lawrence Berkeley Lab., 135 F.3d 1260, 1269 (9th Cir. 1998)
13   (collecting cases); United States v. Curran, No. CR-06-227-PHX-EHC, 2006 WL
14   1159855, at *5 (D. Ariz. May 2, 2006) (noting that “medical and psychological records
15   are entitled to greater protections than other information . . . due to the stigma attached to
16   mental illness”).    Courts have allowed similarly vulnerable plaintiffs to proceed
17   anonymously to protect their privacy. See, e.g., Doe v. Penzato, No. CV10-5154 MEJ,
18   2011 WL 1833007, at *3 (N.D. Cal. May 13, 2011) (allowing victim of human trafficking
19   to proceed anonymously because the litigation involved “matters of ‘a highly sensitive
20   and personal nature’ to her”) (citation omitted).
21          Indeed, judges presiding over two other cases involving Federal Tort Claims Act
22   claims arising from Defendant’s Family Separation Policy before this Court have
23   permitted the adult parent-plaintiffs to proceed pseudonymously based on the same
24   concerns. See Order Granting Pls.’ Mot. to Proceed Under Pseudonyms, A.P.F. v. United
25   States, Case No.-20-0065-PHX-SRB (D. Ariz. Apr. 16, 2020), ECF No. 27; Order
26   Granting Mot. to Proceed Under Pseudonyms & for a Protective Order, C.M. v. United
27   States, Case No. 2:19-cv-05217-SRB (D. Ariz. Sept. 23, 2019), ECF No. 7.
28

                                                    3
         Case 2:22-cv-01242-SMM Document 2 Filed 07/25/22 Page 6 of 10



1    II.     THIS COURT SHOULD GRANT PLAINTIFFS’ MOTION TO PROCEED
             UNDER PSEUDONYMS
2
3            Pursuant to Federal Rule of Civil Procedure 5.2(e), Plaintiffs request this Court’s

4    leave to proceed under pseudonyms to protect their identities from public disclosure.

5    Plaintiffs, in bringing this action, share highly sensitive and personal information that, if

6    Plaintiffs’ identities were disclosed, could harm them and their minor children. The

7    government, which already knows Plaintiffs’ identities through administrative filings,

8    will not be prejudiced by the use of pseudonyms here. Moreover, the public interest

9    weighs in favor of anonymity.

10           A.     Plaintiffs’ Claims Involve Confidential, Personal, and Highly Sensitive
                    Issues
11
12           Plaintiffs should be permitted to proceed under pseudonyms to protect information

13   related to their vulnerable immigration status, their private health information, and the

14   identity of their minor children. Plaintiffs are seeking asylum and therefore “they

15   presently have a problematic immigration status that, if disclosed, could dissuade . . .

16   Plaintiffs from pursuing their rights in court.” Int’l Refugee Assistance Project, 2017 WL

17   818255, at *2. Numerous courts, including this Court, have allowed asylum applicants

18   like Plaintiffs to proceed anonymously in recognition of their need for confidentiality and

19   when their claims present a risk of violence in their country of origin, as with Plaintiffs’

20   claims here. See e.g., Doe v. Holder, 736 F.3d 871, 872 n.1 (9th Cir. 2013) (allowing

21   pseudonyms because of fear of “harassment, injury, ridicule or personal embarrassment”

22   both in the United States and Russia); Doe v. Gonzales, 484 F.3d 445, 446 (7th Cir. 2007)

23   (permitting Plaintiff to proceed under a pseudonym “because of [plaintiff’s] fear that if

24   he is returned to El Salvador he will be killed.”). 3

25
26
     3
       Indeed, in recognition of the highly sensitive, private nature of this information, federal
27   law and policy mandates that information concerning asylum proceedings, including the
     fact that an individual has applied for asylum, remain confidential. See, e.g., 8 C.F.R.
28   § 208.6 (maintaining confidentiality of asylum applications and related records).

                                                    4
      Case 2:22-cv-01242-SMM Document 2 Filed 07/25/22 Page 7 of 10



1           Plaintiffs’ claims, moreover, center on the substantial psychological and emotional
2    trauma Plaintiffs and their children suffered—and continue to suffer—as a result of
3    Defendant’s forcible separation of Plaintiffs from their children.          The litigation
4    necessarily will require disclosure of Plaintiffs’ private mental and physical health
5    information. Plaintiffs’ Complaint details the disturbing circumstances of the forced
6    separation, see, eg., Compl. ¶¶ 61-79; 95-104; 115-128; 135-147, as well as the physical
7    and mental health toll it wrought on each parent and child, see, e.g., id. ¶¶ 84-89; 108-
8    114; 131-134; 152-157. The disclosure of Plaintiffs’ health information could lead to
9    stigma and further trauma for Plaintiffs. See, e.g., Penzato, 2011 WL 1833007, at *3
10   (allowing use of pseudonym where litigation involved “the emotional and psychological
11   impact” of being a victim of human trafficking and where “publication of [plaintiff’s]
12   name would open her to inquiries from the press and other interested individuals,”
13   compromising her ability to recover from her trauma).
14          Granting this Motion will also ensure that the children’s identities remain protected
15   in accordance with Federal Rule of Civil Procedure 5.2(a), which, in recognition of the
16   importance of protecting the privacy of minors, requires redaction of minors’ names.
17   Protecting the privacy of Plaintiffs’ children is even more critical here given the highly
18   sensitive and personal subject matter at issue. Plaintiffs’ claims are based in substantial
19   part on the trauma and abuse suffered by their children as a result of being separated from
20   Plaintiffs, and the Complaint details the ensuing mental health conditions the children
21   continue to grapple with. See, e.g., Compl. ¶¶ 84-89; 108-114; 131-134; 152-157.
22   Revealing Plaintiffs’ names risks exposing just enough information to allow members of
23   the public, media, or others to uncover the identities of their children thereby undermining
24   the objectives of Rule 5.2(a). See Doe v. Heritage Acad., Inc., No. 16-CV-3001, 2017
25   WL 6001481, at *10-11 (D. Ariz. June 9, 2017) (allowing parent to proceed using initials
26   to protect identity of minor child).
27
28

                                                   5
      Case 2:22-cv-01242-SMM Document 2 Filed 07/25/22 Page 8 of 10



1           B.      Defendant Will Not Be Prejudiced by the Use of Pseudonyms Here
2           Granting Plaintiffs’ request to proceed under pseudonyms will not prejudice
3    Defendant’s “ability to litigate the case” given that Defendant already knows Plaintiffs’
4    names from Plaintiffs’ administrative claims. Advanced Textile, 214 F.3d at 1069; see
5    also, e.g., Al Otro Lado, 2017 WL 6541446, at *6 (finding plaintiffs’ use of pseudonyms
6    would not prejudice the government because “Defendants know the true identities of the
7    individual Plaintiffs” and therefore “have the information they need to defend against”
8    plaintiffs’ claims).
9           Moreover, Plaintiffs bring this action against the federal government, which is “not
10   vulnerable to similar reputational harm” that “a lawsuit against a private party may cause
11   the defendant” such that “fairness requires the identification of the plaintiffs.” Int’l
12   Refugee Assistance Project, 2017 WL 818255, at *3; see also, e.g., S. Methodist Univ.
13   Ass’n of Women L. Students v. Wynne & Jaffe, 599 F.2d 707, 713 (5th Cir. 1979); EW v.
14   N.Y. Blood Ctr., 213 F.R.D. 108, 111 (E.D.N.Y. 2003).
15          Because Plaintiffs bring this action against the federal government, which already
16   knows Plaintiffs’ identities, granting Plaintiffs’ motion to proceed under pseudonyms will
17   not prejudice Defendants.
18          C.      The Public Interest Weighs in Favor of Allowing Plaintiffs to Challenge
                    Defendant’s Action Pseudonymously
19
20          The public’s minimal interest in knowing Plaintiffs’ identities here does not
21   outweigh Plaintiffs’ heightened interest in confidentiality. To be sure, the issues that
22   Plaintiffs raise in this lawsuit are a matter of significant public concern. Revealing
23   Plaintiffs’ identity, however, will add little or nothing to the public’s understanding of the
24   government’s misconduct in this case. See Advanced Textile, 214 F.3d at 1068-69
25   (alteration in original) (“[p]arty anonymity does not obstruct the public’s view of the
26   issues joined or the court’s performance in resolving them.”) (quoting Doe v. Stegall, 653
27   F.2d 180, 185 (5th Cir. 1981)). Indeed, courts have observed that there is a public interest
28   in allowing pseudonymous filing where, as here, Plaintiffs are challenging the validity of

                                                    6
      Case 2:22-cv-01242-SMM Document 2 Filed 07/25/22 Page 9 of 10



1    government action. See, e.g., S. Methodist Univ., 599 F.2d at 713; EW, 213 F.R.D. at 111
2    (holding that when attacking government action, a plaintiff’s interest in anonymity is
3    “particularly strong” because “there is arguably a public interest in a vindication of his
4    rights”).
5           Accordingly, the public interest weighs in favor of allowing Plaintiffs to proceed
6    under pseudonyms.
7                                        CONCLUSION
8           For the reasons set forth above, Plaintiffs M.S.E., M.V.A., B.C.O., and U.O.L.
9    respectfully request that the Court enter a Protective Order:
10          1.      Granting Plaintiffs leave to proceed in this matter under pseudonyms;
11          2.      Ordering that Defendant shall not publicly disclose Plaintiffs’ name or
12   personally identifying information; and
13          3.      Ordering that all parties shall submit pleadings, briefing, and evidence
14   using Plaintiffs’ pseudonyms instead of their real names and other personally identifying
15   information.
16          RESPECTFULLY SUBMITTED this 25th day of July, 2022.
17                                           LEWIS ROCA ROTHGERBER CHRISTIE LLP
18                                           By:    s/Alejandro Barrientos
                                                Alejandro Barrientos
19                                              Gary Bendinger
                                                Katie Derrig
20                                              201 East Washington Street, Suite 1200
                                                Phoenix, AZ 85004
21
                                                Justin W. Bernick*
22                                              Danielle Desaulniers Stempel*
                                                Michael J. West*
23                                              Dana A. Raphael*
                                                Melissa Giangrande*
24                                              HOGAN LOVELLS US LLP
                                                Columbia Square
25                                              555 Thirteenth Street, NW
                                                Washington, DC 20004
26
                                                Cory Szczepanik*
27                                              HOGAN LOVELLS US LLP
                                                1601 Wewatta Street, Suite 900
28                                              Denver, CO 80202

                                                  7
     Case 2:22-cv-01242-SMM Document 2 Filed 07/25/22 Page 10 of 10



1                                      Mohan Warusha Hennadige*
                                       HOGAN LOVELLS US LLP
2                                      390 Madison Avenue
                                       New York, NY 10017
3
                                       Tamara F. Goodlette*
4                                      Vanessa Rivas-Bernardy*
                                       REFUGEE AND IMMIGRANT CENTER FOR
5                                      EDUCATION AND LEGAL SERVICES (RAICES)
                                       1305 N. Flores Street
6                                      San Antonio, TX 78212
7                                      Attorneys for Plaintiffs
8                                      (*Pro hac vice application forthcoming)
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                         8
